287 F2d 886
    Francis J. HILDERBRANDv.UNITED STATES of America.
    No. 6573.
    United States Court of AppealsTenth Circuit.
    Jan. 6, 1961.
    
      Dwight K. Shellman, Jr., Denver, Colo., for appellant.
      Wilbur G. Leonard, U.S. Atty., Topeka, Kan., for appellee.
      Before MURRAH, Chief Judge, and BRATTON and BREITENSTEIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Affirmed without written opinion, for reasons stated in the trial court's opinion.  D.C., 190 F.Supp. 283.
    
    